Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 1 of 24
                                               ---- -   ----.- ~ - - - ~ - - - - - - - - -   - -
  Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 2 of 24


Wesi ~~t NiUf©!{))QlY Ciik1ic
318 NAlleghamey SUJ!lle 302
Odesaai, 1X 79761                     .
(432)332-8666
FAX (432)332-SBBO
                                                                                     d I£ J;) _of/
Patient: Lonksy Jr, MIiiard, DOB: 07/22/1968, Age: 84 yearn, Male
Acct#: 16002 1 Encounter Date: 06/2212018

N0W Patl111t 5ncrournter
06/.2212018
                                                                                    @t             ~k-o-
Referral from Bureau of Prisons, Health services                       HEALTH SERVICES UNIT
                                                                            FCIBIG SPRING

Chief Compfa:int(s): Leg pain
History of Present IIIQUB! . .                                                     .       ' .
This is a 64-year...old right-handed male referred for evaluation of left leg radieular symptoms.
Symptoms started about 2 years ago after a bus ride from Oklahoma. He has low back pain. It is
dl\'t&cribed as e burnlns sensation. Moderate in severity. RC!lportadly constant In duration. Pain radiates
down the left lag also In a constant manner. He states there is some left leg weakness.
Laying down makes the symptoms better. l='rolongea standing makes symptom& worse. He has been put
on gabapentln 900 l't'lg twice a day end this has been helping. Nevertheless he oontinues to have some
mild left leg weakness.                                                              ·
There is no aseooiated urinary or fecal Incontinence.
He hacl a CT scan of his lumb oeacral. fllPine done on May 11, 2018 at Scenic Mountain Medical Center. It
showed a left posterolateral broad-based disc protrusions at L3-L4 and L4-L5 With associated
neuroforamlnal atenosie at LS-L4, There Is borderline mild spinal tttnosia at L.2-L3 and L3-L4.
  Medical History
  Alcohcllsm.
  COPD,i,mphysema.
· Hypertension.
 Surglcar Hl11-tory
 Back surgery,
 Family Hlm,ry
 Father- Alooholism, Alzheimer's, High Slood PressurL_______
 Mot.hAr - Deoaasea~lzneimer's, High e1ood Pressure.

 Allerglea: No known <lrug allergles
 Current Medl9atlons:
 gabapent1n 600 mg tablet 11/2 tablet by mouth twice a clay X SO Days, D!sp. 90 Rfl #5
 hycfrochlorothlaiida 26 mg tablet Teke 1 tablet by mouth once a day
 lfslnoprll 20 mg tablet Take 1 tablet by mouth once a d,ay .                               .
 Proventil HFA (albulerol sulfate) so mcg/actuation HFA (4erosol Inhaler Inhale 2 puff using inhaler eve.ry
 six hOUI"$
 mmeuiosrn 0.4 mg capsule Take 1 capsule by mouth once a day X 1 Days, Disp. 1 N~
. RiVIDW of Systerna:
  Constltutlonal Symptoms: Denies fever. ohllls, fatigue.
  Eyes: Denies vision loss, blurring, diplopla.
  Ears, nose, throat: Denies decreased hearing, difficulty swanowlng; ear discharge.
  Cardiovascular: Complains of shortness of breath on exertion. Denies eh9st pain, difficulty
  breathing at night.        ·

 Printed bv Maria Dinkins, MA on 06/26/.2018 1 Page 1 of 3
 aor.,,..nqo11 ~ - - " " ' Ai f'J,illl A..,_   ·
 Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 3 of 24


W@~t Te~~ Niji,J!FO!O£JY CHrii~
318 NAHe;heiney Sultai J02
Odessa, 'TX 797€!'1
(432)332-8866 ·
FAX (432)332-8860
Patient: Lonkey Jr, Mlllard, DOB: 07/22/1953 1 Agei:'Sa yaars 1 Maiie
Acct #: 160021 Encounter Date: 06122/2018 ·

Pulmonary: Comp!elns of shortness of breath. Denies oough, non product.I\/&, clyspnea et reet,
dyspnea on exertion.             · ..               · ·                                       ·
Gastrointestlna:I: Denies nausea, vomiting, altered bowel habits.
Genitourinary; Denies Pain on urination, Urinating frequently, Urinary lncontlnenoe.
Musculoskeletai: Complain& of back pain, Denies joint pain,
Neurological: Complains of numbness of the face 1 numbnes, @f extremities,
Psychiatric: Denies depresalon; anxiety,              _ ·         ·
Endocrine: Denies heat intolerance, cold tntolerance, recent weight change,
Wnl.a:          .
Height 71 inches (180.34 cm) Weight :222 pounds (100.7 kg) BMI 30.96 Pulse 96 bpm Blood
PreSIUl'e 14~ / 96      .

.Exam:                                    '       .
Constftutlonal: genaml appaarance! w~II hydrated. wall nourished.
Musculoakeletal: gait and itatlon: smooth giait and upright posture.
Neurologlc: ·orientation; orientation - orlenied to time, place and person.
memory: recent and remob~ memory intaot,
ettention span; able to stay foc.:us during the exam.
languago: Speech is normal; no dysarthria; no aphasia.
lunci of knowledge: mood and affect appropriate for age.                                        .
2nd cnmlsl nerve: l='upll& - 8C1ual round and reactive to light; Visual fleld are normal to confrontational
testing.
3rd, 4th, 6th c:ranlal naJVes: Normal extraocular movements and alignment of gaze, No ptosis noted.
7th cranial nerve: No facial asymmetry,                                 .
8th cmnlal nerve: hearing is normal.
se1J$at/on: Decrease pin - dermatomal distribution - Left L6,
d,;tp tendon raf/exes: Bleeps. Brachloradlalls, knee, and ankle YElfleX$$ e.re 2+ and Gymmetric.
Cardiovascul~r: prir/pheml circulation: no cyanosis, clubbing, edema, or varioositles.
Additional Info There is mild weakness and left tlblalla antarlor4+/5. As wen al'S the left medial·
gastroonemius 4+ out of 5,
 Problems                           .
 Spondylosls with redioulopathy, lumbar region (ICD-10: M47.26) 1 Status: Active, onset! 06/22/2018
 (added)           .                                                    ·

 Medications
 Madicatlon R.eoonclllmlon Performed
 Plan Note
 1, Agree With sabapentin 900 mg twice a· day. May increase to 900 mg 3 times a day if symptoms·
 worGen.
 2. Recommend another cou rae of physical therapy.              .
 a. Neuroaurglcal consultation is also reoommendad given petient does have rnlld left distal leg weakness.
 Dlspoeltlon                          .
 fleturn to cfin_ic if eymptoms persist

 Note Contributing Authors~
 Joseph Albert Abijay, MD; Doraima Jimenez
 Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 4 of 24


W~t re~sii N®i.lroioaiv Clinic
31 S I\! Al!aghaney StBiiei 302
OdieSl@a, 'TX 79761
(432)332-6656        ·
FAX (432)332-8860
Patient: Lonkey Jr, MIilard, DOB: 07/22/195$, Age: 64 years, Male
AccU!: 16002, EneountarDate:.08/22/2018


Not€! efsctronicany signed. by: Joseph Albert Abljay, MD on 06122/201 aat 08:53 PM

CC:
Burea1,1 of Prisons, Health Services, 1900 Simler Avenue, Big Spring, TX, 79720
                                               Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 5 of 24

        FCf BIG SPRING
 ti)    1900 SIMLERAVENUE                                      {;;//}~f #         Z/4/"7-tJ~I
 0
 0
_,._    BIG SPRING; TEXAS 79720
 ~
 0                                     scenic Mountain Medical center
 0                                          1601 West 11th Place
 a:                                           Big spring, TX 79720
                                                  432 . 263 1211 .
 ©
 C\J                                            IM,\G!NG REPORT
 r--
 =l!:
             NAME: LONKEY, MILLARD J
             MRN:            274159             ROOM:                     DOB:   07/22/1953
             ACCOUNT#:       3725942            BED!                      AGE: 64 Y
 ,st         PATIENT TYPE: AA[!                 ORDER DATE/TIME: 05/11/2018  09:00            SEX:   JI!
 !:
 10          ORDER G:           EXAM DESCRIPTION:              ADM OIA~Osrs:
 T"          .100               CTLSPWO
 o:l
 ....        ACCESSION#:          37259420000100
 0
 (\J         DICTAT£0 BY:       CASTILLO, MARIO 1110, PH.D.
 -..
 ,-          ORDERI!iG PHYSICIAN:         SALLOM, 1E
             ATTENDING PHYSICIAN:         llALLOM, TE
 0
 -...        PRIii.ARY CARE PllYSICIA.",I! UNl(NOWN, PRIMARY
 (D
 0
             FINAL REPORT
            ADDENDU>!

            IMPRESSION

            2.   Left posterolateral broad-based disc protrusions at L2-L3 and
            L3-L4 (NOT L4-L5) with associated
            neuroforaminal stenosis at L3-L4 as described.
            END OF ADDENDUM
                                                                                                           l
            NONENHANCED CT LUMBAR SPINE
            REASON FOR E:XAM:     Lumbago wi'th radiculapatby.
             Mu1tiple contiguous axial images were obtained at 1 mm co11imation,
             as per protocol. sagittal and coronal images were reconstructed Fro~
             the acqL£ired dara. This examination ~as performed using one or more
             of the fo110~1ing dose reduction techniques: Automated· exposure
            -control, adjustment of the mA and/or kv according to patient's size
            and/or use of iterative reconstruction technique.
            Lacie of intra,hecal contrast limi;;s assessment of the discs, conus
            medullaris, and nerve roots.
            No previous CT exa.'1lioa'tions of the lumbar spine are available for
            comparison.
            correlation is made with a CR series of the lumbar spine dated
            04/19/2015 and with an MRI examination of the lumbar spine dated
            08/25/2017.                   .
                                          Page 1 of 3




 f
 ...0
u.
                                                     Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 6 of 24




 lO
 0
 0
~~---
  0
  q                                                 IMAGING REPORT
  CL
  (!)
                      NAME: LOOKEY, MILLARD 1 .
  C\I                JIIRN:         274159           DOB; 07/22/1953
  l'-
  =ll:               ACCOUNT#:      3725942          ORDER DATE/TIME: 05/l.l/2018 09:pO
                      ORDER#;        EXAM DESCRIPTION:           ADM D:rAGNOSIS:
                      100            CTLSPWO
      <t
      ~

      ....IJ)         ~or the purposes of 1abeling, a 1:ransitional vertebra at the
                      Ta<llhosacra1 juncrion of 1:he S?ille is desi9na1:ed as LS. ·
      o:I
      T"
       0             Loss of lordosis and mild 4e~trocanvex rotary scoliosis are noted.

        ..
       C\I
       '0.
                     The vertebrae align anatomically witllout evidence of acute fracture
                     or subiuxation. l4 aod L5 exhibit asymmetric bony fusion on the 1eft
                     with a prominent anrero1ateral hridgfog osteophyte. Other 1eve1s
                     exhibit conservation af.(lisc height versus roinima.1 to mild narrowing
        '(lJ         and mild jaxtaendplate_osteopbytic ridging,
         a           At a1.l examined motion segments, there is a congenita11y-smal1 spinal
                     canal on the basis of short pedicles. Bi1atera11y, the exiting nerve
                     roots are grossly unremarkable and ,he facet joints .exhibit a.-.:ftrosis.
                     The annulus 1'ihrosu5 shows raild diffuse cm1centric bulging at L2-l3
                     through L4-L5 with left JJ()Sterolatera1 eccerrtricity versus
                     broad-base,d disc protrusions at L2-l3 and L3-l4, moderately narrowing
                     the ipsi1atera1 neuroforamen at L3-l4.
                     The 1igamentum f1avum eXhibits hyperti-ophy at L2'-L3 and L3-L4 whh an
                     associated redijction in the cross-sectional area of the spinal cana1,
                     greaur at l3-L4.
                     The neuroforamina shew narrowing bilaterally at TlD-Tll (~ild1y), on
                     the right at nl-712 (mildly) and TI.2-Ll (mi1d1y), bilaterally at
                     L3-L4 (111ild1y on the right and moderately on the left) and L4-L5
                     (nrild1y on the dght and mooerate1y on the left).      ·
                     Mild symmetrical narrowing of the sacroiliac joint spaces arises in
                     a.ssoctation ,virh mild i rregu1ariry of articular surl'aces:
                     Incidental findings include,
                     Calcified atherrnnatous plaques arise predominantly in a oonaneurysmal
                     abdominal aorta, about tM ostia of the ce1iac, superior mesenteric·
                     and .!nlateral rena1 arteries and in the iliac arteries bilaterally.
                     EXtrarenal pelves reflect a normal developmental variant.
                     IMPRESSION
                     1.  ~o CT evidence af a01te fracture. If clinical symptoms persist,
                     corre1ation with magnetic resonance imaging is-advised.
                     2.  Left postero1aceral broad-based disc pnrtrusiDIJS a-r L3-L4 and



                                                                                                  'l

                E
                0
                '-
                u.
                                                                                                                       ,"1',
                                               Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 7 of 24

  IO
 0
 0
 _.II). ,_ -----~~--------=-~----------_:---'--_:___________:_ _
 a:a
 0             -                                     ' -~ -
                                              Page ;i of' :I


 {!)                                              IMO.GING 'REPO!!T

 ~
              l>!.AM!': : LONKEY, MILLARD J

 'II:         MRN:              274159
              ACCOUllT#:                           DO!!~ 07/22/1953
                                 3725942
                                                   ORDER DATE/Ti'M'E: OS/11/2018 OS:00
              ORDER.   fl:
            100        .         eXAr,, OESOUPTION;
                                 CTt.SPl\'O                     ADM DIAGNOSIS:
 ,t
 !':
 lO
 T"
           L4-LS witli associated neuroforamfoal si:enosis at L3-L4 as described.
 m
 ....      3. Border1ine 1:0 mi1d. spinal canal stenos-is at L2-L3 and L3-L4. ,
           4. Spondyloarthropathy .with associated. ,findfogs as noted above.
 C
 {\j       D oate / Time, 05/11/2018 10:57 J\M CT
 '-
 r         T Date / Time; 05/11/2011! 11:27 AM CT
 0         R Date / Time:
           S Job#: SMMC90431718
 '(0      D    Jab#: 6412551
 a        MT:    570862
          D: MC


          Mario J Casti11o, MD, Ph.D.




             Thi,s document is elect:ronically signed t>y: Mado            J   Castillo MO,
         Ph.D. on CS/11/2018 at 2:47:08 PM (CST) Verification:
         9043231420180511144708
         Print CC:
         Fax CC:
         TE CORA     B,\LLOI\!, DO

         o·oate / Time: 05/U/7018 ll:51,AM CT
        T Oat,e / Time: 05/11/2018 12:54 PM er
        R Date/ Time: OS/ll/2018 1:59 P» CT
        S Job#: 5/JiMC90432314
        o Jab #: 6412561
        MT: 570862 / 30800
        l); MC

                                         Pag~ 3 of 3




E
2
lL




                                                                                              '.-....-;,
               Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 8 of 24


I

I
    biaifllf!l.®! MB~ IL@mlk®y,
    DOB: 1P~2P'IJ$ij3\                                    :-1ealth Services Unit
    Age: 64 ·.                                            fCI Big Spring
    Dste: ·1112912017


    CHIEF COMPLAINT: Lower back pain



     HISTORY of PRESENT ILLNESS: This is a 64 year old male with lower back pain X2-3 years.
      He previously had back pain many years ago1 but he had back surgery in approximately 1990 and
     that relieved the pain. He.reports the pain stared after a long bus ride. He has pain in hls lower
     back and it radiates down his left reg. He has numbness, tingling, and weakness in his left leg as
      well. He takes gabapentin with some relief of symptoms. He tried physical therapy with no
    . improvement in pain.                                               .




     MEDICATIONS: Gabapentin, tamsulosin, lisinopril, HCTZ

                                                                   .        I         •

     SOCIAL HISTORY: Pt. is an 1.nmate in Big Spring, Texas. Pt denies drinking alcohol or history of
     drug abuse. pt, previously smoked cigarettes, but he quit now.

     f AMILY HISTORY: Positive for OM, cancer, and HTN.

     PAST MEDICAL HISTORY: HTN

     SURGICAi,. HISTORY: L4-L5 laminectomy in 1990, appendectomy, tonslllectomy


     REVlEW OF SYSTEMS:
     GENERAL: Negative
     EYES:       Blurred vision, double vision, glasses
     ENT:        Negative
     CV:     Negative
     RESP:   Cough. SOB, wheezing
     GI:    Negative
     MUSCULO: Low back pain, left Peg pain
     NEURO: Negative
     PSYCH: Depressior
     SKIN:   Negative
     GU:     Negative
     ENDOCRINE: Negative

      PHYSICAL EXAM: Height 5'11                   Weight225 pounds
      HEAD: Head is normocephalic .and atraurnatic
      cvi   Heart rate rhythm is regular. No murmurs or gallops


                                                                                                          Page J/2   .
            Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 9 of 24




PULM~ .L11.mgs are clear to ausw!tation
ABD: Soft and non-tender
EXT: . No ch!lbbih'Dg, cyainiosls, or edema noted

NEUROLOGICAL: Nomrnal naurologicafl examination except noted:

Motor                left     Reght
Oeltoads:              SIS     5/5
Biceps:                515     5/5
Triceps:               515     515
Hand.grips:            5/5     5/5
Wrist Extensions:      5/6     515
Wrist Flexions:        5/5     5/5
lliopsoas:             5/5     5/5
Q"'adriceps:           5/5      5/5
Anterior Tibiaiis:     5/5      5[5
EHL:                    5/5     5/5
Gastrocnemius:          5}5     S/5



RADIOGRAPHIC: MRI of the L--spine without contrast was perfonned at Scenic Mountain
Medical Center on 8/25/2017 and demonstrates: L4-l5 central stenosis, left paracenbal disc
protrusion with left foraminal na1Towing

ASSESSMENT/PLAN: Tots Is a 64 year-old male with lumbar pain and radiculopaihy. He has
miled conservative therapy. We believe tha1 he will likely need L4-L5 !aminectorny with probable
fusion, We would like to send him for a CT scan of the L-splne firstand have him followup after
imaging. Discussed plan with patient, he agrees with plan of care.

TOBACCO ASSESSMENT: Smoking Status: Previous smoker.

Counseling     on tabacco cessation:Yes.




                                                                                                   Puge2'2.
      Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 10 of 24




 MRN:                  73215            DOB:              07/22/1953
 Account#:             72263            DOS:              10/24/2017

 FAMILY HISTORY: Mother died of Alzheimer's issu~s and heart attack. Dad is Iii.Ang. He has emphysema ·
 and athe(\1\/jse unknown. He had not kept up with him,.                    .         ·            I .         .· .
 SOCIAL HISTORY: Positi'\e for tobacco and alcohol, He quit in July 2014. He had about a 45
 plus~pack~year hrstory. He denies drugs.      .               .       .                           I . · . ·.
 M. RI of his lumbar area show.ed a stable 1 ~osterior lateral ~lsk protrusion, neural foram. iml al stenos ls at L3
                                             7 ft.


 and L4, stable spondyloarthropathy. Again, images were re\Jlewed,                          ·
                .                                                                              .


.· VITAL SIGNS: We have hlm at 5 feet 11 lnches and 224 pounds. Temp 97.6, pulse 87, rbspirations 17,
   blood pressure 153/92, saturating 98% on room air.                ··           . I•·.              ·

  Toe patient does walk the yard. He denies shortness of breath unless he walks fast, and ~ometimes when
  he bends o\er to make his bed, he also has some shortness. of breath, He is morbidly obese.. He said that
  the pain has been going on about 3 years in the abdomen, it stays about the same. He s~ys, he feels it
  more at night. There is nothing that really makes it significant, better. He said lt is in the id epigastric
, region below the xlphoid. It might ha~ a small amount of diastasis in that area as well.

 PHYSICAL EXAMINATION:
 General: A well-0e~loped andwellanciurished male, in no acute distress. Normocephalic and atraumatlc.
 Alert and oriented x3. Appropriate affect. Slightly blunted.
 HEENT: Pupils are equal, round, and reactiw to fight. Equal ocular motions intact. No I, terus.
 Conjunctivae pink and moist. Lids normal. Turbinates pink. Oropharynx, no significant findings.
 Neck: Supple. No iymphadenopathy. Trachea midline; No JVD. 2+ carotid pulses. No bruits.
 Lungs: Clear to auscultation bilaterally, No increased work of breathing. Symmetric rise and fall of the
 chest.                                                                                             ·
 Heart: 51 and S2. No specific murmurs, rubs., or gallops.                                  .
 Abdomen: Morbidly obese, minimal tenderness to mldeplgastric region, \€ry firm abdomen, significant
 subcutaneous fat noted. Hypoactiw bowel sounds. With him standing, there is no signifibant protrusion in
 the groins. With a finger placed up the inguinal canal, there is slight weakness in the lng~lnal floor wlth
 Increased intrmibdominal pressure of a cough, in the right is slightly larger than the left, but no other
                      or
 significant masses lesions.
 Extremities: Strength is appropriate, upper and lower. 2+ pulses at the wrists and the a kles.
 Skin: Warm, dry, and intact. No cyanosls, clubbing, or edema.
 Neurological: No cranial nerus deficits appreciated. No other sig,nificant weaknesses not d.

  ASSESSMENT: A_64-year-0ld gentleman with some epigastric pain and discomfort.

  PLAN: Due to the increased stool seen on the CAT scan done on October 20, 2017, wit~ start:
  1. With a stool softener, Colace 100 mg twice a day. Do that for 2 to 3 weeks and see if there Is a
  decrease In the issues of abdominal discomfort. He can reduce down to 1 Colace a day. I would Increase
  hfs fluid to make sure he has plenty of fiber in his diet as well.
  2. Start a low-dose omeprazole 20 mg once a day just to make sure that this is not a ga trolntestinal issue
  related to the stomach. J did not see anything specific on the CAT scan to infer that, but t may help. So
  stool softener Mice a day for 2 to 3 weeks as a trial. Also add 20 mg of omeprazofe one a day,
  Re-evaluate and assess in 2 to 3 weeks. The hernias ln the inguinal region appeared to bb asymptomatic,
  they are not limiting the patient's lifestyle, and it Is not this area of pain or discomfort, so would not



                                                     Page 2 of3
      Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 11 of 24




                         scenic Moun~ain Medical center
                              1601 west 11th Place
                              Big-spring, TX 79720
                                  432 263 1211
                                   IMAGING .REPORT

NAME: LONKEYJR, MILLARD     J

MRN:           274159              ROOM:                    DOB: 07/22/1953
ACCOUNT#:      3697602             aED:                     AGE: 64 Y
PATIENT. TYPE: RAD                 ORDER DATE/TIME: 08/25/2017 10:18        SEX; M
ORDER#:         EXAM DESCRIPTION:               ADM DIAGNOSIS:
100             MRJ:LSPWW
ACCESSION#:          36976020_000100
DICTATED BY:     CASTILLO, MAR!O MD, PH.D,
OROERING PHYSICIAN!      BALLOM, TE
ATTl:NO!NG PHYSICIAN:    BALLOM, TE
PRIMARY CARE PHYSICIAN: UNKNOWN, PRIMARY

FINAL REPORT
-MRI LUMBAR SPINE WITH A~D Will-lOUT INTRAVENOUS ENHANCEMENT
REASON FOR EXI\M:    Lumbago with radiculopathy.
Multiple n- and T2-weighted axial and sagittal images were obtained.
STIR sagittal images were also acquired. Fat-saturated Tl-weighted
axial and sagittal images were obtained after intravenous
administration of gadolinium contrast, as per protocol.
compared to an MRI examination of the lumbar spine dated 04/07/2016.
correlation is made with a CR series of the lumbar spine dated
04/19/2016.
The conus medullaris terminates at T12 1 showing no focal enlargement
or abnormal signal. The nerve rootlets of the cauda equina layer .
dependently and fan out normally without evidence of clumping or
adhesions.
There is a normal bone marrow signal for the patient's age without
evidence of marrow edema to suggest bone bruise/contusion, occult or
acute fracture. A stable, rounded, circumscdbed 1 subcentimeter
focus of Tl and T2 hyperintensity in the body of LS, most likely
represents an incidenta1 hemangioma. vertebral body height is
preserved.
 For the purposes of labeling, a transitional vertebra at the
 lumbosacral junction of the spine is designated as L5.
 Loss of lordosis and mild rotary scoliosis are again noted.       Stable
 marked loss of disc height at L4~L5 arises in association with
                                Page 1 of 3
      Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 12 of 24




                               IMAGING REPORT
NAME: LONKEYJR, MILLARD J

MRN:          274159           DOB: 07/22/1953
ACCOUNT#.:    3697602          ORDER DATE/TIME: 08/25/2017 10:18
ORDER#:        EXAM DESCRIPTION:            ADM DIAGNOSIS:
100            MRILSPWW


irregularity of opposing endplates and a bulky bridging anterolateral
osteophyte on the left, . other 1evel s exhibit· conservation of disc
height versus minima1 to mild narrowing and mild juxtaendp1ate
                                                                         l
osteophytic ridging. All discs show loss of T2 signal, greatest at
L4-L5, compatible with desiccation.
                                                                             I
At all examined motion s~grnents, the bilateral exitingnerve roots       l   I
are grossly unremarkable and the facet joints exhibit arthrosis.
These are salient findings at the following levels:
At T-Ll and Ll-L2, there isno evidence of bulging of the annulus
fibrosus, focal disc protrusion or spinal canal stenosis.
Bilaterally, the neuroforamina remain widely patent.
At L2-L3, the annullls fibrosus shows stable mild diffuse concentric
bulging with left posterolateral eccentricity but without evidence of
discrete focal disc protrusion or spinal canal stenosis.
Bilaterally, the neuroforamina remain widely patent.
At. L3-L4, the cross-sectional area of the spinal canal demonstrates a
stable mild multifactorial reduction in size: The annulus fibrosus
shows diffuse concentric bulging with left postero1ateral
eccentricity and broad-based disc protrusion, moderately narrowing
the ipsilateral neuroforamen as on the prior study. The right
neuroforamen shows stable mild narrowing. There is mild hypertrophy
of the ligamentum flavum.
At L4-L5, the annulus fibrosus shows mild diffuse concentrfc bulging
without evidence of focal disc protrusion or spinal canal stenosis.      i
                                                                         I
Bi1aterally, the neuroforamina show stable mild narrowing.
At LS-s1, there is no evidence of bulging of the annulus fibrosus,       l
focal disc protrusion or spinal canal stenosis. Bilaterally; the
neuroforamina remain widely patent.
Incidental findings include:
The imaged urinary bladder exhibits mild trabeculation.
IMPRESSION
L stable left posterolateral disc protrusion, neuroforaminal
stenosis and borderline spinal canal stenosis
at L3-L4 as described.
             Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 13 of 24




                                      Page 2 of 3

                                          IMAGING REPORT
      NAME: LONKEYJR, MlLLARD     J

      MRN:              274159             DOB: 07/22/1953
      ACCOUNT#;         3697602            ORDER DATE/TIME: 08/25/2017 10:18
      ORDER#:           EXAM DESCRIPTION:              ADM DIAGNOSIS:
      100               MRILSPWW


      2. stable spondy1oarthropathy with associated findings as noted
• I   above •


      Mario   J   Castillo, Mo; Ph.o.
           This document is electronica11y signed by:   Mario       J   Castillo   MD1
      Ph.,o. on 08/25/2017 at 2:01:26 PM (CST) Verification:
      8829537320170825140126
      Print   cc:
      Fax cc:
      TE CORA BALLOM, DO
      D oate / Time: 08/25/2017 12:57 PM CT
      T Date/ Time: 08/25/2017 01:21 PM CT.
      R Date / Time:
      s Job#: SMMC88295373
      D Job #: 51083
      MT: 570862
      D: MC
                                      Page 3 of 3
                    Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 14 of 24
H)/ZA/2018 :i: 15Pt      fM;    325 481 2208
                                    ~Tilil,t.Th11'1f1ilhI(1iff1m,,,!iif;-v I ~2'~~.11!/~W'ei-
                                    DlU.f'U'\ll~lJ!!'1 ·,,4l,,JJ/,'JJi~   I !:i~roAr~. TI{ ?EmOO
                                                                                                   I   flmJrnJ:
                                                                                                       (~) ~"iWJo'i;;ii•u
                                                                                                                                ·_1:;, .
                                                                                                                                  '


                                                                                                                                 ~
                                                      -        il~iooril1 lF~lliliD ~ -
                                                                    ~ Otll:         443579
                                                                                                                                  t
                                                                                                                                  ~




        {J15-,;,1·       a71
       Patient:                                 LONKEY, MILLARD 443579
       DOB:                                     7/2211953 / M

      · Primary· are
       Provider.

                                                                                     CHRONIC BACK PAin



              ..·         . !                   .          .                   •.            .          .        .    .     .
        MILLARD 11,; 63 YF old, right handl!ld_ patient who oornta in today with_ complaints of CHRONIC
        BACK PAIN. The ~In radiates to left leg. He is having pain Into the shht The patient WIS on a long
        bU8 trip and      1ni hLWlng pain down his legs. He wal'i glvf.'ln somt Ibuprofen. He stet$$ tl'lat he _.
       ended up In wh~lohalr beicau&e he could not walk due to the· pain. The patient wn on gabapentin
        which he eta wae helping him. He waa taking 900 mg twice a day.The gsbapentin was
      . discontinued and h:e waa placed on Cymbalta which made him ill. The patltnt complains of a burning
        sensation. e pa~ent 1'$les their pain at a f5 on a 1~10 pain scale. The patient r.ornplained of neck
        Miffness, Th P1'9int complalrn;id of tlghtnesa In the lower back. imt patient is able to hot water. The
        patient has     n to 0 physlcal therapy sessions In the last year. The .patient has had 1 epldural        ··
        steroid lnj on~ lri the last year. The patient hai; had 0 facet bloeks In the last year. Toe patient haa
        had Onerve lock&. In the last year. Tht _patient hl!IS had OSI Joint Injections In the ll':lst year. l'he
       pa
        _ _tlent ll8B d 0 genlcular lnjectlai'I$ in the last ysar. The patient hllli seen a chiropractor_ Otimes.
        The patient a not had any lo.a In bowel or bladder control. The patient utilizes no essistive
        devices,                            s




        The patient s asseaed using the O$W8Sby Dlnblitiy rndex qusstionaire; PAIN INTENSITY: pain ·
        medl!ffltion p videis complete relief from pain. PE:RSONAl CARE: painful. Muat be slow and
        careful. LI NG: manages f:a IHt Hgt to mltdlum Wei;aht from a table. WALKING: no more than 0,5 a
        mile. SITTIN : no more than 1 hour. STANDING: no more than 30 minutes. SLEEP: pain meds
        allow 6 hou , SEX LIFE; -normal. SOCIAL LIFE: unrestricted. ~VEL: p,8iln IS bad but manages 2
        hour journey • The pattant iB at 38% disability on the Oswaatry Disability Index..
        Please refer complefad SF-12 fonn at this office visit.
       Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 15 of 24




Mediaatio s:
Floma>< (ta     losln) 0.4 mg, 1, one. a day
Hydrochlo     iaZlde 25   mg. 1, once a day
Llslnopril .1 mg, 1, once e day


AllergleJj;
NKDA ·.
other, (with verbal denial ·o1 Iodine, IVP or Contrait dyes)


~
Temp:            Height: s tt 11 1n Weight: 209 lb ooz Blood Pressure:                      130 ns       Pulse:
 71




Genera~ N W&lght ohange. No fever. No ohllls. ·Positive for dizziness. Positive for wesknus. ·
P0&ltlve for fatigue.
eye: No di harge. No vision loss.. No change in vision. No l"fJdn~. No pain. No blurred vision.
E:NT: No s · re ttiroat. No rhinorrhea. No throat swelling. No nosebleeds. No hoarsenus. No hearing
Jou.            .
Cardiov      ter: No cheat pain •. Positive far lower extremity edema. leg& and feM. . No tachyoardia.
No palpitatl ns.
Respire     : Posttive for cough; No hemoptysis. Positive for shortness of breath. No dyspnea on
exertion.                                                               ·
Gastroln tlnal: Positive for nausea No vomiting. No diarrhea. No oonliltlpation. ·No melene. No
dy5phagia.
Genltoorln :   No    dyt:;urla. No hematuria. No frequency. No cly$pareunla. No ftarik pain.
Muacutosk l&tal: Posilive for myaJglas. Positive for arthralgias. PO$ltlve for-neck pain. Positive for
baokpaln.
Skin: No h. No oontusl0ns. No abrasions. No laceratlone.
N1;1urolog I: Denies headache. posmve for numbneu. left leg . No weakness. POSitiVe fOr
parastl\Mli e. left leg .
P~ycho!ogi I: No oh1u1ge In men~ mtl.Jl!I. No Mnfutlion. No agitation. Not $uklldal. Denies
~•pre111o Not hostile.                                        .
Metabolic; . nles polyurla. Oeni~s potycllp1da. No hair low. Poaittva for heat lntoier1nce..
Hematol ic: No bleeding. Do~
                               .
                                   rot
                                   '
                                         easily bruise.
       Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 16 of 24




  General; Th. pat.ieP"llt Is well d!evebpedl. Appen i!pp~ome sl!al1ad ~ei. !1 pi~Silm 1nd
  ooopeivttve thmugoout examination. Appears in no acute dlltrus.
  Respiratory fiespirations ate even end 11.mlabof!ld. Breath aounde are dear tnroughol.llt all lobes.
  Cairmovasc lsir. Heart has a regular rate and ~yihm. No mumt11.1r. No uw:iible pen1Mrdial mdion rub.
. No gallop. o peripheral edema.                                             .                         ·
  Gutrointes al: Abdomen la ti0tl Abdomen nontender. Bowe! sou1111de am presernt thl'0iughout all
  quadmms;                                                              .
 Gtnitoul'ina
 Skin: No rs h seen. No bruising. No sldn diso.oloratic:m. ·
      . . etal: Gait la norm11L station 1, normal. Right lliopsoim 5/5. Left lllopsosas .515, Right
 Quadrtcep ts. left Quadrtcep 515. ·Right Hamwing 6/5, Left Hamstring Mi. Right Tiblall,; anterior
 5/5. Left Tl alls anterior 416. Right Extensor haltucls longus 515. Left Extenaor halluel1 li;>ngl.i$ 6/5.
  Right Gas    nemlus 615. Left GIU!troonemh.1$ o/5.
. Neurologic: The .Patient is alert and orient.eel to pi180n 1 p1aGG and tilme. l4 and S1 reflfmes are 2+.


  lml@irtcc                       .                            .
 CD/ROM F OM SCl=NIC MOUNTAIN MEOICAL CENTER:
 MRI OF TH LUMBAR SPINE (4'07/16)
 IMPRESS! N:
  1. Left       lateral disc protrusiOtl, neural foramlnal stenosis and borderlfne spinal canal stenQSis
 .at the L3-4 1 described.·.
  2.. Spondyf rthropathy with asmtciated findings as nc;ted above.



                pain With radltulopathy,
                rolat&ral disc prouullon1 neu!lll fomminal stenoeie and borderilne spinal canal stenosls
                  dMCrlbed.


  Plan:
 The patient is here today with back pain. I have reviewed tbe MRI. image$ of Iha lumbar spine. We
 will.placw    patient on gabapantln 800 mg twice a day.~ will order physical thetapy 2 times e
 week for 3 · eeks. We will .JnSCl'ibe Tramadol 50 mg to take 1 p.o. t.ld. p.r.n. pain. The patient will
 .be seen in !low up In 4 weeks. lhe patient was given written material with exercises to do, should
 physical th rapy not be approved.



  oocumenta ·on assistance provided by Sandra Michulka who functioned as a medical sorlbe and
  was prese during the visit. Himry, physical eimmlnation, asnssmentand pl1;1n were performed
  personally     the doctor.              ·
                       Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 17 of 24
lnrnate Ns-;me: LONKEY, MILLARD J JR                                                       Reg#:    21512-081
Date of Bi,'ih: 07/22/'1953                                Sex:      M   Race: WHITE       Facility: BIG
Encounter Date: 10/23/201912:50                            Provider: Sosa, Halina RN       Unit:     S01

              Ophthalmolo.gy Offsi.te Appt
          R.eaisoi'ilfor Rieql!.ll®sft:
              66 years male with Hx. of vertical diplopia for one year needs to follow up with ophthalmologist as per
              recommendations. Please, bring MRI of brain with and without contrast ( ordered previously). Please, bring
              LAB: T3, Free T4, TSH FBS for appointment.
          Provisiomni. Diagnosis:
                 vertical diplopia
· Disposition:
     To be Evaluated by Provider

 Patient Education Topics:
      Date h1itiated   Format                           Handout/Topic                      Provider              Outcome.
      10/23/2019       Coynseling                       Access to Care                     Sosa, Halina          Verbalizes.
                                                                                                                 Understanding
      10/23/2019       Counseling                       Plan of Care                       Sosa, Halina          Verbalizes
                                                                                                                 Understanding

 Copay Required: No                             Cosign Required: Yes
 TelephoneNerba] O_rder:             Yes       By:   Ballam, Te Cora DO RMD .
 Telephone or Verbal order read back and verified.


 Completed by Sosa, Halina RN 6n 10/23/2019 13: 14
 Requested to be cosigned by Ballam, Te Cora DO RMD. ·
 Cosign documentation will be displayed on the following page.
                                           '                      .


 Requested to be reviewed by Alvarez, Javier ML~.
 Review documentation will be displayed on the following page.




  Generated 10/23/2019 13:14 by Sosa, Halina RN               Bureau of Prisons - BIG                            Page 3 of 3
                       Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 18 of 24
                                                           Bm"eaitUl'of Prusou'1lS
                                                            !He©l~th SE.H'Vices
                                                           C~ull1l~cai! Ell1lcotUJu1ter ,
' Inmate Name: LONKEY, MILLARD J JR                                                                      Reg#: 21512-081
  Date of Birth: 07/22/1953                                    Sex:      M Race: WHITE                   Facility: BIG
  Encounter Date: 08/27/2019 10: 16                            Provider: Sosa, Halina RN                 Unit:     . S01


 Nursing - Sick Call Note encounter performed at Health Services.
 SUBJECTIVE:
     COMPLAINT 1 ,                Provider: Sosa, Haliria RN
       Chief Complaint: EyesNision Problems
       Subjective: Inmate complaining of diplopia in left eye,
       Palm:             No

· OBJECTIVE:
  Temperature:
     Date              Time               Fahrenheit.    Celsius Location                   Provider
     08/27/2019        10:19 BIG                 98.4          36.9                         Sosa, Halina RN

 Pulse:
     Date.           Time             Rate Per Minute            Location                  , Rhythm .   Provider
    . 08/27/2019 10:19 BIG                              . 79                                            Sosa, Halina RN

 Respirations:
      Date                                       Rate Per Minute Provider
     08/27/2019             · 10:19 BIG                           16 Sosa, Halina RN

 Blood Pressure:
      Date           Time           Value         Location            · Position           Cuff Size    Provider
      08/27/2019 10:19 BIG          160/93                                                              Sosa, Halina RN

 SaO2:
      Date              Time              Value(%) Air                              Provider
      08/27/2019        10:19 BIG                 95 Room Air                      · Sosa, Halina RN

 Exam:
    General
            Appearance
                 Yes: Appears Well, Alert and Oriented x 3
                 No: Appear~ Distressed
      Skin.
            General
                 Yes: Within Normal Limits, Dry, Skin Intact
      Eyes
            General
                 Yes: PERRLA
      Pulmonary
              Observation/Inspection
                 Yes: Within Normal Limits
                 · No: Respiratory Distress
      Cardiovascular

 Generated 08/27/2019 10:41 by Sosa, Halina RN                   Bureau of Prisons - BIG                                   Page 1 of 3
Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 19 of 24




                                                                   ··-·
                                                                   '•
i P~t'i®rut~ 6-~@!NJ~' JJ~17 !MJU6~rrd
                    Case                    B~~w~-
                               2:15-cr-00368-DN         i, ' ""'"•·
                                                    ~rtr~~h
                                                Document                                                  Ml27-3
                                                                                                             (l!l ~.-r~ .iW~
                                                                                                                          Filed               ~r:-2.,~.~ffl~~
                                                                                                                                03/09/20 Page 20
                                                                                                                             ~~-"~•=~=•-·~-      of 24        s., S~£i I'
 ACC!l-:IDt: ~im~,       filirkhtlitoo   @W/::ll;ilj1:il®~   UrJ l\g® 1191,\i       !J:,ll,;.\ A'll~ra'..w;.J !i{}~mw!!if                                                       Phttll@ . (~2!] S®@a:lll1!::,Ml
 1?.mtll.'l' ~ct()f                                                             .           .       ~\\!llt,,ll ~ .                              .               ··             t,m        <!l~is.5h"OO~
 P.ef~ i''.lilt'i:o:·             .                                                        r-llRt:l!iiil'lti\; 'lf:tt l!lt:3'{!~                                                                           ·· P.i.ge &
 ,l:mm ,'          . ., '.l.®f"QJl'l,/JJ                                                                                               '   ~o//S1o( ""Cfo
                                                                                                              Getniitll.lulnary                umemarktllbtei
 Appoiatments                                                                                                 integumentary,                   Unremalitable
                                                                                                              Musculoskeleliil                 unremarkable
 10/23/19 NP                    .s:aoa          HGS                                                           Neuro!oglcai                     Unremarkable
                                                                                                              Hemalologlc                      Un.remarkable
 Probler:i Us.t.                                                                                            · «mmunclogla                      Unramaltrn1ble
 10123(19       H18.41 Arcussenilis, bHaleral ,                                     HGS                       Endocrine                        Unramart.abie
 110/23/19      H02.40 Unspecified Plosls Of Lefl: Eyelld                           HGS                       Psyi;hialrlf,                    unremarkable
 10123119       1-149.23- Sbcth (abducenl] neNa palsy; bllateral                    HGS
 10!23119       H49.03 Toi.rd [oculomotor]                   nerve
                                                  palsy, llllateral                 HGS                      MooruOrientm.Jon
 10123/1!~      H58.2 · Olplopla                        .                           HGS                       MootUOriented                    Moad normal, Alert.and O_rlentetl ,;3l (426224004) ·

 Chief Complaint .                                                                                             Visual Acuity
  MIiiard Lankay.Jr, 66 year old male, Is Bl new patient who presents for                                      io/l3/UI DS                    - VA
  dliated e~aminatlon. double viskln left eye,.since June 201 B, and                                           Eye sd>lia                   scNva,        a:bwl          o::Nvai ·    .phDv;ai ·    Glsm          PAM
  gradually came on, it first started last year off & on, aod now has                                         OD                                           20/30
  occasionalheadactles When notwearlngglams.state& Jmage Is                                                    OS                                         .20/25
· lclwer to righl,and left eye Is turning up and out
                                                                                                              Refractic;,ns
 HPI
                                                                                                              Auto Retraction 10/23/19 CO
 Loca!Jon         Left Eye                                                                                    l!y& Rx             Add Prlsm Pase Prism Base Dva                                          Nva,
 Quality.         double vision.                                                                               OD +1.Q0-1.00x090
 Severity         wome                                                                                         OS -O,S0-0.50x177
 Tirnlng          Tile symptoms baganJuna 2019                                                                 OU

 Ocular History                                                                                                Manifest                         10(23/19 DS
 2019110/23 . IUness                      No Known Ocular Illness                                              Eye' Rx                                   A.da Prism aasc Prbm Baritt c,v-.,              N\fll
 .2019/10/23 Trauma                       No Known Ocular Trauma                                               OD+1.00•1,00X090 +2.25                                              · 20/20
 201911012s Procedure                     No Known Ocular Flrocedures                                          OS •O, 50·0.75x:180 +2.25                                                   20~5 ·
                                                                                                               OU         .
 ·Medical History
 2019/10/2:'$ Trauma                      No known trauma                                                      FlnalRx          10/23/19 OS
 2019,06      Illness                     Cardiovascular                                                     . ieve Rx             Add Prism b!e Pr111m Base DVa                                         Nva
 2018                                     EmphyseroatCOP[?                                                     OD +1:oo-l.OOx090 +2,25                       Z0/20
 2014.                                    HTN                                                                  OS ~.S0-0,7Sx180 +2.25                        20/25
                  Procedure               Appendacfomy                                                        ·ou                  '
                                          BackSx: .
                                          Tonslliet:tomy
                                                                                                               Keratomet,y .
                  Farnny
                  Soclal                 . Denies drinking                                                     10/23/19                co                  OD                                 OS
                                                                                                                                                         43.00@093                        42,75@087
 Smoking Status                                                                                                                                          44.00@003                        43.75@177
         Smoke ·                          N~er smoker, / .2B6919•05                                                                                      1.00@003                         1.00@1T1
  Systemic _M~dications                                                                                      ..Extemaf Exam
                  llslnopril                                                                                                                              00                                  OS
                  amlodiplne                                                                                    Pupils                        PERRL (·) APD                          PERRL (~) APO
                  tamsulosln                                                                                  . Motility                      can not mc,w right eye up              Extraocular Mowmen~
                  gabapenlin                                                                                                                                                         Intact, NOl'rtial Gaza
                                                                                                                                                                                     Alignment
                  hctz
                  mometasone                                                                                   Muscle                         OrthO by ACT                           OrthobyA.CT
                  11spllln 325 mg tablat,delayad                                                               Balance
                  release {DR/EC) (aspirin)                                                                    Confrontation                  Normal Confrontatlonal
                                                                                                                                                         ·Normal Confrontalional
                                                                                                               Fields                         Field   .   Field
 .Revi_ew of Systems                                                                                         · External Lids nonnal lid posltl0n wtlhout ptosls
  Conslitutlonel            Unremarl<able                                                                      ·             obvious lesions
  Eyes                      see ocular exam.            ·                                                       Orbit JAdnexano proptosls or vtslble      no proplos!s or Visible
  ENMT                      Unremafl{abla                                                                                    mass..·                      mass
  car<11ovasetJlar          pleurisy
  Respiratory               unremarkable                                                                        IOP                                  OD     OS        Mothort            Sta" Comments
  Gastrolnfestipal          Unremarkable                                                                        10123/19 12:28P                      7      7         Goldmann-          DS
                                                                                                                                                                                         Pr1ma(l: LH     10/21lfl91:2I Pl\'
 f!@ijj'lett.t l@li~~t!SW Jl~v ~18fi~ffl.J.,    &il!I!!lf~llil!:Jliil ®.. ~fro&i1!lll B~t!!il !fll~ lfji.'Jr~l l!irii!lltl~~\ iQJtrro•U11£~ML~\rJ1 ~. !i~~#.\L~ i
                             Case 2:15-cr-00368-DN            Document                 27-3            Filed 03/09/20 Page 21      of 24               .        It
 A!OOOl!rit 1lil!lW,;~ cllltMMS _@;;,/:l!Ull@~:li li;l. A@e ~            ~i<l;l .ffe!OOo"m~-;m .!Kill{;jil.W~lf                                  ~on~        «~~i ~oi@~                 i
                                                                                      tllllb fillllii                                            t-m:        ~~XI@~                     i
1tiier~1rig 1J0t.ror                                                           ~Slll~!l.~"ffl~iil~~
 \:;}!SJTI' .             1®,1':i'JJJ~


 CID IR/siio
 Date      OD         OD          OS        OS       Shdf Commellls
          Vt:trtJcal Horizontal Vertical ·Horizontal
 10/23119 0.2         0.2       0.3        0.3       OS                                        Superbi/1
                                                                                                       99204                EIM t-lew Patient                    HGS
 Drops Admlnistered
                                                                                                                          . Comprehensive E!l<Qm
· Paremy<d                 8:30am                                                              H53.2                        Olplopla                             HGS
 1.0%/-0.:25%                                                                                  H49.p3                       Paralytic Strablsmus.                HGS
                                                                                                                            Third or ocuIom·o~r
                                                                                                                            Nerve Palsy, Pat!lal
 SlitLampE,ram
                                  IOD                         OS                               H49,23                       Paralytic Strabismus,                HGS
                                                                                                                            Sbdh Or Abducens Nerve
. lids / Lashes          retracllo11                  Lid Margins Clear, Lashes
                                                                                                                            Palsy
                                                      Without Collarettes Cf Scurf
                                                                                                H02.402                   Unspecffied Ptosls Of       OS        . HGS
  Tear film              normal tearfllm              nom,al learfilm
                                                                                                                          eyelid
. Conjunctiva            Normal Bulbar and            Normal Bu!bar al'ld                                                                                                           \
                          Palpabral,     ·            Patpebral. ·                              H18.413                   Senlle Co meal Changes                 HGS
                                                                                                                  92015   Refraction.                           'HGS
 Comea                    Arcus Senl!e&               ArcUs Seniles
 Anterior                 Deep and quiet. No cell or Deep and qtl}el. Mo cei or                 Signature
 Chamber                  flare,          ·         · flare.           ·
                                                                                                                    .       j-., ~ .
 Iris                     no MG pupil                 no MG pupn                                                           -~

                          H Nuclear Sclerosis.        1+ Nuelear Sclerosis.                         <"-~                       ,•
 Lens .
 Angles                   angles appear open          angles appear open                        HARSHAD G. SHAH, MD
 Fundus                                                                                         10-28-201913:21:41
                                  OD                            OS
 Dilation                DIiated retina! e>eamlnl!llon DIiated retinal examlnatkm
                         was performed, Good           ·waG performed, Good
                         dUatloo.                       dllaUan, .
 Vle.w                   Good View                     GoodV'iew
 Op1ic Discs      Normal appearing optic      Normal appearing optic
                 'nerve with healthy pink rim naive With lieallhy pink rim
                .and normal sppaarlng         and normal appearing
              . nerve fiber layer.            nerwe fiber layer.
  Cup 1o Plso ·CID: 0.20,                     CfD: 0,30.
  Maeula          Normal Color and Contour Normal Color and Ccmtour
                  for Age                     ror Age                    ..
  Vessels         vessels are of normal       vessels are of nonnal
                  caliber without arterio-    caliberwllhaut artarlo-
                  vanous nicking or           venous ricldng or
                  s!gnifi~nl tortu0:&lly      sl911lficanl tortuoslty
  Periphery       Attached 360 Degrees, No Altachetl 360 Degrees, No. .
               · Holes orTeara.               H1>!es or Tears.
  Vitreous        Vitreous Normal and Clear Vil.feous Normal and Clear
                  for Age, No PVD.            for Age, No PVD.

  Plan
  10/23119        HOS
  • 1. Dlplopla
       2, Third Nerve Palsy, Incomplete, OU - the patient has signs
       arid eymptoms CHJnslstent with bilateral lncornplete third
       nerve paiskm, Th\l .condlllon and possible etlologlos wore
       discussed Wltf'I thB patient.
       3. Sixth Nerve Patsy OU - tba patient has signs and
     · symptoms con$lsl8nt wHh bllawral sixth nerve palsltts, .
       The condition attd possible etlologlBS were dlscuBs.od wfth
        the patient.
        4, PfoslsOS
          T3 frea T4 TSH, MRI with and wllllout contrast.       .
        6, Return fer ari appointment In 2 months with Or, HARSHAD

                                                                                                                                                         Pml6a, LH      10!'2e/1'91:U PIii




                ......                                                                                                                   --·-'"·--··· - ~-        ..J--·-· ,_. -- -- -
                                   Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 22 of 24
                                                                                              Bureaur of Praso,11s
                                                                                             . fH!eiaJth Sewnc:es .
                                                                                                                                                                                                                                          ...
                                                                                                                                                                                                                                           ..
   •   I   -
                                                                                                       VusHorn Scieens
                                                                                                                  ...  ~   ~            .                                                                  •, .   '   ~-
                                                                                                                                                                                                                       ...   ~-   :..-   .... . .
                                                                                                                                                                                                                                               ,:~   '
                                                                                                                               • • i_



Vision Screen on
   Blindness: .                                                                                                                                                                      ,....
                                                                                                                                                                                                                                          .,  ....                 '•"




  Distance Vision: .                        O~~ ~-                  . ··                                  9~~---                                                     . OU:
  N~ar Vision: ·                            OD: ·                                                         0S:                                                         ·ou: .... ···· ... ·                                                      .         .       .'·    .
  With corrective
  Dis~~ce ;\(ision~ . O_D: .                                            ·     -.-.                        os:·                                  :~ \: :•:"'dJ: ·;:: ·\·:.                                                                 .    ..: ..... ·

. NearVislon:                               OD: ...                                                      . OS:                                                       ' OU;             ..... .
                                                                    ,   ... .' '•                                                                                                                          ;,         .··
  Present
     •,
          Glasses
            .     -                         Di~t1n~·                                                             '--Refraction - Dj$tance                                      .... •.,
                                                                                                                                                                                  .. ::
                                                                                                                                                                                                                                                         •'       ··    ..
           Sphere                       'Cylinder              ..Axis ·                  Add                           Spner~ .-                         ·py_Un91?r             .Axis.:                    . Add· .. · ..'.
  R:                                                                                                              R:
  L: ,                                                                                                            L:                                                                                                                                                ·.
                                                                                                                 ~---~~-~-~-·-_.
  Color Test                                                                                                      .            .   •            .          • .        ..        i              ~        ' . .                                  .              •


  Ton9metry:                       R:           _       !(         L: / /                                        ,Gr.' ',              ':iiT·_·-o_~ _c;. · · - ~ .
' Comments:
       ·Orig Entered:                           . .
                                                        .      I
                                                            G ~. .. 2 .r:;;- . .
                                                                                                                 .~ :' ~
                                                                                                                       •, .'.- ~
                                                                                                                               .' .
                                                                        '. (        ~              '                   :                            . ;~.,. ::i-               ./ ~ .. '                  . ; .
               ~-~~i!Yl$~-~-                                                                                                                ·.-·· . . ~ - ~                               _·-f4f~--
                  . . . •·             .. r       :.                                                                  ~                     ~ ~                                     r==~:        •' .
               XT os. z..~*"~
                                                                                                                                            .       ..           t   .:                             .

                                                                                                                                                                                                                                                              . . ·'
                . .       ·cf' ~
                               .. .-. +  ~--:·•6J<...                                                                                                                                              ..
                   '       ~            '   .                                        '
                                                                                                                                                            .              .               .                      . ,.               •'        '


           , ,/\J)~.,{Jj).]~A·, ~ ·
               V       -   w   -   ---· -       "   •   -0 .                         (.,Nldr11A'·~ ' ,
                                                                                     .,. ,   Y_.   "U~~'I -            -R~-::.t~·                                                              obr/~



                                                                                                                                                                     LONKEY, MILLARD
                                                                                                                                                                        21512-081
                                                                                                                                                                      DOB: 07*22-1953

                                                                                                                                                                                                                                                         ,,•·




                                                                                                                                                                                               •,   .
                  Case 2:15-cr-00368-DN Document 27-3 Filed 03/09/20 Page 23 of 24
                                                                                                                                + ;l,I ~J;;/ -1)f$1
                                                                                                                                  Heai!~ S1EJrvic0s unit
                                                         IDieinvih:i«ik DaaJlJ:h ~ t~ .
                                                                   a:a.mm, · ~                         .                          fFC! Big Spri«"ig
                                  Qepa:rtmen:t o.f ltadi.D1ogy & llaolea-r Med.ici.ne

~ X an., WLlA'ID)
Au-®unt tf'lllllbult": 5®'1:Ui156                llmH':: l"!l02G~3
0011= 07/22/1953                                 Cmipl.ete<l QIU ~0/31/.2().:i.9 0~:<06
?m<>l\WW ·.MRx· OlWl'l'S, :ir11.a:,. Nim/OR mi:a Wn'HO"IJ'l' MO wx:ro: 00:N'nmSl'
At.tending w: ~SlmLll, JOIEN                      stntus:1 !'1.nQli~ed
 ~bing                Q1          ,                                      11attoot Leen
 AOC "II 5118Hl
 CO".P,Y To:
 'l'e<lllno,J,<>gia t. I
 nx:1




 !ml    oru.n::rs wx~u            Mm·     ~x:uxotr.l.' comnA:r.t
 Jttfll'ORl\' I · Diplapia.,

 ll'.IEDXNas: D:l:ffunion-wainhted :I.nm.gen ontm.ined                                 denionn·t:rarte no e'v:l.dence cif' o.mrt:e
 :ln:fD.!lC't •

 Sil~te'rlal glcme.a demonu·tcftte na:cmnl .ohttx>e,. ai2a flll.d. c01tt:aui:.                                     l'ha b:i.lfltellal
  dpt:10 nemve.a dem.®itta:a:te nai:.uml. ·u1gnn1. .No l'lbnamu Wlhmiomnenb i.u aeen a:e
 ·i;:;tia b1l!tt«uia.l opli:l.c nariveo, Opti9 oUh:tsmn l'JlUi optia. 'tJJe.eta 9Ppew: nal!Dll'll. The
  ~caoeul~~ :inuueleu ~p~ea:rJ na:rJnml. n11r1teJlr.ll lacJJinml glr.indo oppea~ naJJmal.
 SevE!:rJal :fl'ae?.ll fl.lld pa;tcb.y fl.J:Ela.!J of ch:rian:Le mm111.· veaii<~l :L.udtenti.d chDn.gau ru:e
 aaen invcil ~ng- ·t:ha anpria:t:ent:crdill :whi·t:e lnf.tr,t:e'f!.. The tn:m.:t.n.ntein nnd ae-r:ebellum.
 s:r;,r;)efl.?lo Il.Cl!!Dli\\l.       l'ba aellfl, DU.t)!lllllellttll Wld tll'l.J!QUelll'lll            nx!i(!l'll:J. n~pea.E   naJ?mnl.
  nte eiianiovairt®:r:al. junec:f.on appea.11.u nai:mnl.. C:fllva.d1IDI. appea:rJo ilcEllllll ..
  Nariml aign.a.1 :flaw .vaidt1 ar.:e nean ·t:<l :1.nvalve the vaa.oeln a:.e' ·t:he oktxll· bs.ne •.
  :Qe·cent::i.c:in. c.yzrt.a azie aeen :l.n.valvi.ng ·t:he b:Llabellfll lllfU.1.llf.\llll s:Lnuuen ..
. f3il.a-t:eiia.1 mairt:aid. 1!1:i.Jl . cell diaer1ae :t..o piie.aent,. · .Efoa·tican:t::ilfllft :l.lmlgea ·c.tu.:aug.b.
  ·t.hEl bi:ain demarurti:z:a-~e na Dbnarm:ml enhllllcamartt1.                ·                ·

 XMl?lU!:SS;tON.
     1 ~ JIJ'q evidenu.e ci:J! acu.t::e :l.nf'l'l.ll<:rt ,
     a.    ·t'Jtlllnml.  mu
                         .t1iibi·t:a w:1.th. nn.d w:i:t.b.a,tt ocrrtt:'f!rurt:.
     9. Ch!lonie nmn.11 veauel iachemio Qha.ngea in.Valving- ·the .QU.Pll&t:ent:odal blls.in.
     '.I • 5:lnu.n di nea.De •
     s. Jlilateim.l lJlf.urtoid ail! aell diaea.ae, r.:igltt: ucef.tter:: ·than le:[!t ..

                             ""'w      ':l'W:S xa   lit-l.   i:i:i.,tc.rno,u:CA1.1.'\!' vmu:1rII!:o m::eon:r -..,,r-.,
 10/8l/a019 ai17 ~M: ASDI9U ~ATS., MO
 Intei:pi:a-ted :by 1 1i.maaa: BMW., MO




                                                                                                               :eaua.           1 of        1
 1;1:~tJ vt.u    Ol$/ z~nu-1 ~ o t: b'ti,i,M t1-~2tH00888                 . THEFiled
                                                                                   EVE INSTITUTE
                Case    2:15-cr-00368-DN
                           •                From:    Document       27-3
                                                      Piage: 3/4 , D:c,l'.5~8128'/2019   03/09/20
                                                                                       7:53:34 AM Page 24 of 24

                                                                        a,ur~a:u of PrisOJn~
                                                                      H~ai~t~ Si~rrv~ces                                                      !ieal~h Sernicei Uiioft
                                                                                                                                              FCi Big Spring      .
                                                                    Consui~tatiolill Regpuest ·
b1mate Name: LONKEY, MILLARD J JR                                                                                 Reg#: 21512-081                Complex: BIG
Data ofBlrth:  07/22/1953                                                                                         Sex:  M

 Report of Consultation: Ophthalmology                                                                            Subtype: Ophthalmology Offstte Appt
 1:.nmate Name: LONKEY, MILLARD J J.R .                                                                                                · Reg#:      21512-081
 Date of Birth: 07/22/1953                                                                                                             Sex:         M
 Institution: BIG SPRING FCI
                 1900 SIMLER AVE
                 BIG SPRING,Texas 79720
                 432-466-2300
 Assessment:                 fr-- .t!.)\'i~-v.-1
               \ -v-.t~~ ) - t ~ ~ 'J$ 1~-
                    ·.01[) ::2>1°ol5J          ... I
       \J ?r./4! t_;, ... · . .. - ~ .... s,. pi-a-~,.$ ____,, .... . ,                                                            f~            ev u ., .
                 <2..,.,(t:·      .b;,( ~                                           ..                   .   ;:::!.J_.;.   IV .,
                D
                1. (NY'
                             -~-~
                              .
                                             ~,. '"N, - Y'~~ai""'
                                                        l\ aJt..,..... o, ... S
                                                                             w ~-.;.,,
                                                                                                    (t
                                                                                                              .
                                                                                                                      f'v-lD✓
                                                                                                                        - \J
                                                                                                                              l        ~-
                             CovV'.\          ~         l       ~                          .

                  . ,. . _        . Q_J.~                   N7_t;, C>J-~                       O.,,L:>. -
               ,.t; Ll£ - .              1          .   --~     ~   0-V.. -
                             ~~lvJ-                                          .                                .      .     ~B,Jir          Fl3S
                              .          . ;....,       ·t-01--                      ~.3       ~~-r~,.                             .   I
. Plan:    \      ~Y!S            i,al       J':n'          .       ·,.'ll       \A /0     ~~ 5 ) -✓
                             \;1 ~ L,4 /                    ~"f

                             \~,.,,...,. a-M~ . .
                                     ,~~1\J(Ul,>1                                        ~
 Signature
                         ~ -
 Date


  Completed By:



 Report may be hand-written or (preferably) typed on this form. If dictated on office or hospital .letterhead to
 follow, please indicate essential findings or recommendations to be acted upon pending final report.

   Follow-up services and primary responsibility for inmate health care remains with Bureau of Prisons staff•
 . While disc.ussion of diagnostic/treatment options with the inmate may be appropriate, they are subject to review
   by the inmate's primary care provider, the institution utillfzatlon review committee and/or the BOP National
   Formulary.

  Please notify institution prior to scheduling surgery ,;1ates or follow-up appointments.

  Inmate not to be informed of appointment dates.




  Generated 08/28/2019 09:11 by Foster, Lauren HS AssL                                     Bureau of Prisons - Bl G                                       Page2 of S
